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November 10, 2022

United States District Court
Northern District of California
San Francisco Division
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San Francisco, CA 94102                                         CU-     , .              11 vT COU91
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Subject: CASE: NO. 3:22-cv-04486
               AMICUS BRIEF

May it please the Court:

WHEREAS:        I am a member of SIRS, Sons of Retirement, a group of approximately
150 men in Sacramento, California, the majority of whom love the game of golf and the
companionship we find on the golf course. I am deeply concerned about the outcome
of the above case and am submitting this Amicus Brief for your consideration.

WHEREAS:         I have watched the plaintiffs often on TV and greatly appreciate their
skills. I also admire the work that the PGA has done over the many years that it has
sponsored exciting golf and many groups including a professional organization
for young men and women who wish to become pros. PGA's work with the young is
also admirable. However, in this case I believe that sanctioning members is unfair and
deprives them of income and exposure in this country. If this case is not
settled favorably for the dependents, the public will be not be able to view full
competitive golf because some of the greatest golfers will not be able to compete with
each other. World rankings will also be negatively affected.

WHEREAS: The plaintiffs in this case have contributed to the well-being and success
of the PGA, and we believe that with the Court's agreement they will continue to
enhance the prestige and well-being of the organization.

WHEREAS:        I submit further that exclusion from the PGA is anti-competitive and has
a negative effect on this country's relationship with other countries and to the game of
golf as a whole. Although a wonderful organization, PGA should not choose winners
and losers in this great sport

I respectfully urge you to rule in favor of the plaintiffs and thereby support the game we
love, free enterprise and the ability of men and women to compete in whatever nation or
organization they wish.

Respectfully,




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